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                 Exhibit A
          Case 3:14-cv-03264-JD Document 2896-1 Filed 12/10/21 Page 2 of 18



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 2   Anupama K. Reddy (State Bar No. 324873)
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 8
     Lead Counsel for the Direct Purchaser Class
 9

10

11

12                                     UNITED STATES DISTRICT COURT

13                               NORTHERN DISTRICT OF CALIFORNIA

14

15   IN RE CAPACITORS ANTITRUST                         MDL Case No. 3:17-md-02801-JD
     LITIGATION                                         Case File No. 3:14-cv-03264-JD
16
     THIS DOCUMENT RELATES TO THE DIRECT                MOTION TO STRIKE TESTIMONY OF
17   PURCHASER CLASS ACTION                             DR. LAILA HAIDER
18                                                      Date:        November 29, 2021
19                                                      Time:        9:00 a.m.
                                                        Courtroom:   11, 19th Floor
20                                                      Judge:       Hon. James Donato

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      MDL Case No. 3:17-md-02801-JD
      Case File No. 3:14-cv-03264-JD
                               MOTION TO STRIKE TESTIMONY OF DR. LAILA HAIDER
           Case 3:14-cv-03264-JD Document 2896-1 Filed 12/10/21 Page 3 of 18



 1                 e Direct Purchaser Class (the “Class”) ﬁle this motion to strike the improper and previously

 2   undisclosed expert testimony oﬀered by Dr. Laila Haider and to instruct the jury that they must

 3   disregard her testimony.

 4           I.         INTRODUCTION

 5                 e Federal Rules of Civil Procedure provide that: “[i]f a party fails to provide information or

 6   identify a witness as required by Rule 26(a) or (e), the party is not allowed to use that information or

 7   witness to supply evidence on a motion, at a hearing, or at a trial, unless the failure was substantially

 8   justiﬁed or is harmless.” Fed. R. Civ. P. 37(c)(1); see also Fed. R. Civ. P. 26(a)(2)(B)(i) (an expert

 9   witness must disclose “a complete statement of all opinions the witness will express and the basis and

10   reasons for them.”). Defendants intentionally violated Rule 26 by allowing Dr. Haider to testify during

11   her direct examination to an economic analysis that she never previously disclosed. In other words, Dr.

12   Haider’s improper undisclosed testimony that her calculation of damages was $66 million was not an

13   inadvertent statement made during a heated cross-examination. It was a calculated attempt to sandbag

14   Plaintiﬀs by oﬀering an alternative damage calculation to the jury.        is Court should not allow

15   Defendants’ blatant violation of the rules and should strike the testimony of Dr. Haider in its entirety or,

16   at a minimum, strike the testimony regarding her alternative damages calculation and immediately

17   provide a thorough curative instruction to the jury.

18           II.        ARGUMENT

19           Dr. Haider was retained by the Defendants to oﬀer general criticism of the overcharge

20   regression analyses of Drs. McClave and Singer, as well as Dr. McClave’s customer-speciﬁc impact

21   regression model. Expert report of Dr. Laila Haider (February 22, 2019), ¶4. At no time did Dr. Haider

22   ever indicate that she would prepare an alternative damages calculation. See Declaration of Joseph R.

23   Saveri, Ex. A (excerpts of May 9, 2019 Deposition of Dr. Laila Haider) (“Haider Dep.”).           is was not

24   in her expert report, this was not disclosed in any of her errata submissions, and this was never

25   disclosed during her two days of deposition testimony in which she speciﬁcally disclaimed having any

26   additional opinions after reviewing Dr. McClave’s and Dr. Singer’s expert reports, other than in her

27   written Rule 26 disclosures. In particular, during her deposition Dr. Haider was explicitly asked if she

28

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                                 MOTION TO STRIKE TESTIMONY OF DR. LAILA HAIDER
           Case 3:14-cv-03264-JD Document 2896-1 Filed 12/10/21 Page 4 of 18



 1   would provide a damage analysis. She could not have provided clearer testimony regarding her

 2   testimony:

 3                   Q:     And, in fact, you were not asked to perform your own overcharge
                     analysis in this case, right?
 4
                     ***
 5
                     A:       An independent analysis of my own, no, I was not asked to perform that.
 6
                     Q:     So you are not in a position to give an opinion as to what you believe
 7                   were the overcharges caused by the capacitors cartel?

 8                   ***

 9                   A:       I – that is not my role here. . . .

10   Haider Dep. at 418:2-14; see also id. at 375:15-24; 417:18-25.

11           At the outset of her trial testimony, Dr. Haider reaﬃrmed that her assignment was “to evaluate

12   and test Dr. McClave’s methodology and conclusions” and to “evaluate Dr. Singer’s methodology.”

13   See Trial Tr., Vol. 8, 1345:19-25. From that point, Dr. Haider launched into a narrative presentation

14   only occasionally punctuated by cues from defense counsel. At one point Dr. Haider turned the concept

15   of “question and answer” on its head, prodding defense counsel that he had “skipped over a previous

16   slide.” Trial Tr., Vol. 8, 1370:8-10. Twice, the Court admonished defense counsel that Dr. Haider’s

17   examination should be “less essay-like” and “not a speech.” See Trial Tr., Vol. 8, 1388:15-19; 1390:8-

18   12.

19           Notwithstanding Dr. Haider’s prior disclosures, prior deposition testimony and stated

20   assignment, during the ﬁnal minutes of her narrative trial testimony, she was asked if she had “gone

21   through the exercise of calculating what the damages would be if you just took the years in which there

22   was a positive overcharge.” See Trial Tr., Vol. 8, 1383:21-24. Dr. Haider responded “Yes. I – I did look

23   at that” and that she calculated that the damages “would account for about 66 million roughly.” Id. at

24   1383:25-1384:4. Plaintiﬀs promptly objected that this testimony was completely outside the scope of

25   Dr. Haider’s reports and testimony. Defendants did not oﬀer any citation to Dr. Haider’s expert reports

26   to support her testimony. Nor could they.        is “calculation” is unambiguously outside the scope of her

27   stated assignment and prior Rule 26 disclosures. It was never previously disclosed.       e Court neither

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 1
     sustained nor overruled Plaintiﬀs’ objection, but instead simply stated “well, let’s keep going.” Id. at
 2
     1383:7.
 3              e damage done by this undisclosed testimony cannot be glossed over. At a minimum, the

 4   failure of Defendants to disclose that Dr. Haider would oﬀer this damages calculation deprived

 5   Plaintiﬀs of an opportunity to address this critique during Dr. McClave’s testimony. See Samsung Elec.

 6   Co., Ltd. v. NVIDIA Corp., 314 F.R.D. 190, 201 (E.D. Va. 2016) (noting that failure to make timely

 7   expert disclosures “would constitute signiﬁcant prejudice”).

 8           It is imperative that the Court strike Dr. Haider’s improper testimony. See Molly, Ltd. v. Deckers

 9   Outdoor Corp., 259 F.3d 1101, 1106 (9th Cir. 2001) (exclusion under Rule 37(c)(1) in intended to

10   “give[ ] teeth to [Rule 26] by forbidding the use at trial of any information required to be disclosed by

11   Rule 26(a) that is not properly disclosed”). While a court excluding evidence under Rule 37 need not

12   ﬁnd bad faith or willfulness, the court may impose this sanction even when doing so would cause a

13   litigant's entire cause of action or defense to be essentially precluded. Id.   is Court should also

14   immediately give the jury a curative instruction that is suﬃcient to “neutralize the harm” caused by Dr.

15   Haider’s testimony. See United States v. Kerr, 981 F.2d 1050, 1054 (9th Cir. 1992) (“A trial judge

16   should be alert to deviations from proper argument and take prompt corrective action as appropriate.”);

17   see also United States v. Barrett, 703 F.2d 1076, 1084 n.14 (9th Cir. 1983) (“the trial court gave the jury

18   a curative instruction immediately after [the expert witness’] improper testimony was made.”).

19           III.    CONCLUSION

20              e law is clear and unambiguous, under Rule 37 (c)(1) “[e]xcluding expert evidence as a

21   sanction for failure to disclose expert witnesses in a timely fashion is automatic and mandatory unless

22   the party can show the violation is either justiﬁed or harmless.” Plumley v. Mockett, 836 F. Supp. 2d

23   1053, 1064 (C.D. Cal. 2010) (quoting Carson Harbor Village, Ltd. v. Unocal Corp., No. 96–cv–3281–

24   MMM, 2003 WL 22038700, at *2 (C.D.Cal. Aug. 8, 2003)). Defendants and Dr. Haider have

25   intentionally violated the provisions of Rule 26, and their misconduct was nether justiﬁed nor harmless.

26   As set out above, Dr. Haider’s inappropriate testimony should be stricken and the jury should be given

27   a curative instruction without delay.

28

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       Case File No. 3:14-cv-03264-JD                       3
                                MOTION TO STRIKE TESTIMONY OF DR. LAILA HAIDER
          Case 3:14-cv-03264-JD Document 2896-1 Filed 12/10/21 Page 6 of 18



 1

 2   Dated: December 10, 2021                      Respectfully Submitted,

 3                                                 By:        /s/ Joseph R. Saveri
                                                              Joseph R. Saveri
 4
                                                   Joseph R. Saveri (State Bar No. 130064)
 5                                                 Steven N. Williams (State Bar No. 175489)
                                                   Anupama K. Reddy (State Bar No. 324873)
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                                                   Lead Counsel for the Direct Purchaser Class
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      MDL Case No. 3:17-md-02801-JD
      Case File No. 3:14-cv-03264-JD                     4
                               MOTION TO STRIKE TESTIMONY OF DR. LAILA HAIDER
           Case 3:14-cv-03264-JD Document 2896-1 Filed 12/10/21 Page 7 of 18



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 8   Lead Counsel for the Direct Purchaser Class

 9
                                         UNITED STATES DISTRICT COURT
10
                                    NORTHERN DISTRICT OF CALIFORNIA
11

12
     IN RE CAPACITORS ANTITRUST LITIGATION              Master File No. 3:17-md-02801-JD
13                                                      Case No. 3:14-cv-03264-JD
     THIS DOCUMENT RELATES TO THE DIRECT
14   PURCHASER CLASS ACTIONS                            DECLARATION OF JOSEPH R. SAVERI
15                                                      IN SUPPORT OF MOTION TO STRIKE
                                                        TESTIMONY OF DR. LAILA HAIDER
16

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      Master File No. 3:17-md-02801-JD
      Case No. 3:14-cv-03264-JD
       DECLARATION OF JOSEPH R. SAVERI IN SUPPORT OF MOTION TO STRIKE TESTIMONY OF DR. LAILA
                                              HAIDER
           Case 3:14-cv-03264-JD Document 2896-1 Filed 12/10/21 Page 8 of 18



 1           I make this declaration in support of Plaintiﬀs’ Motion to Strike Testimony of Dr. Laila Haider.

 2     e statements set forth herein of are my own first-hand knowledge, and if called upon to testify thereto

 3   I could do so competently. I make this declaration pursuant to 28 U.S.C. § 1746.

 4       1. Attached hereto as Exhibit A are true and correct excerpts from the deposition of Dr. Laila

 5   Haider dated May 9, 2019.

 6

 7   Dated: December 10, 2021                                     _____/s/ Joseph R. Saveri _________
                                                                          Joseph R. Saveri
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      Master File No. 3:17-md-02801-JD
      Case No. 3:14-cv-03264-JD                          1
       DECLARATION OF JOSEPH R. SAVERI IN SUPPORT OF MOTION TO STRIKE TESTIMONY OF DR. LAILA
                                              HAIDER
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                           Dr. Laila     2896-1
                                     Haider     Filed 12/10/21
                                             Attorneys    Eyes Page
                                                               Only 10 of 18
                                       May 09, 2019                            349

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·2· · · · · · · · UNITED STATES DISTRICT COURT

·3· · · · · · · ·NORTHERN DISTRICT OF CALIFORNIA

·4· · · · · · · · · ·SAN FRANCISCO DIVISION

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· ·   ·   · · · · · · · · · · · · · · · · :
·6·   ·   IN RE: CAPACITORS ANTITRUST· · ·:
· ·   ·   LITIGATION· · · · · · · · · · · : Case No. 17-md-02801-JD
·7·   ·   _______________________________ :
· ·   ·   · · · · · · · · · · · · · · · · :
·8·   ·   This document relates to:· · · ·:
· ·   ·   · · · · · · · · · · · · · · · · :
·9·   ·   The AASI Beneficiaries' Trust, :
· ·   ·   by and Through Kenneth A. Welt, :
10·   ·   Liquidating Trustee v. AVX· · · :
· ·   ·   Corp., et al.,· · · · · · · · · :
11·   ·   Case No. 3:17-cv-03472· · · · · :
· ·   ·   · · · · · · · · · · · · · · · · :
12·   ·   Avnet, Inc. v. Hitachi Chemical :
· ·   ·   Co., Ltd., et al.· · · · · · · ·:
13·   ·   Case No. 17-cv-7046-JD· · · · · :
· ·   ·   · · · · · · · · · · · · · · · · :
14·   ·   Benchmark Electronics, Inc.· · ·:
· ·   ·   et al. v. AVX Corp., et al.· · ·:
15·   ·   Case No. 17-cv-7047-JD· · · · · :
· ·   ·   · · · · · · · · · · · · · · · · :
16·   ·   - - - - - - - - - - - - - - - - x

17

18· · · · · · · ·DEPOSITION OF DR. LAILA HAIDER

19· · · · · · · · · · · · · VOLUME II

20· · · · · · · · · · · Washington, D.C.

21· · · · · · · · · · · · ·May 9, 2019

22

23· · Reported by:
· · · Misty Klapper, RMR, CRR
24· · Job No.: 270015

25


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                           Dr. Laila     2896-1
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                                             Attorneys    Eyes Page
                                                               Only 11 of 18
                                       May 09, 2019                            350

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· · · · · · · · · · · · · ·May 9, 2019
·4· · · · · · · · · · · · · 9:05 a.m.

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·7· · Held at the offices of:

·8·   ·   ·   ·   ·WINSTON & STRAWN LLP
· ·   ·   ·   ·   ·1700 K Street, N.W.
·9·   ·   ·   ·   ·Washington, D.C. 20006
· ·   ·   ·   ·   ·(202) 282-5000
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20· · · · · ·Taken pursuant to notice, before Misty Klapper,

21· · · · Registered Professional Reporter, Certified Realtime

22· · · · Reporter, and Notary Public in and for the District of

23· · · · Columbia.

24

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                                                          Only 12 of 18
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·2· · · · · · · · · · P R O C E E D I N G S

·3· · Whereupon:

·4· · · · · · · · · · · · LAILA HAIDER,

·5· · · · · ·was called for further examination, and, after

·6· · · · · ·being duly sworn, was further examined and

·7· · · · · ·further testified as follows:

·8· · · · · · ·CONTINUING EXAMINATION BY COUNSEL

·9· · · · · · · FOR DIRECT PURCHASER PLAINTIFFS

10· · · · · · · · · · · · ·BY MR. WILLIAMS:

11· · · · · · · · · Q.· · ·Good morning, Dr. Haider.· Are

12· · · · · ·you ready to go?

13· · · · · · · · · A.· · ·I am.

14· · · · · · · · · Q.· · ·Okay.· Could you give me an

15· · · · · ·estimate over the last 12 months of how much

16· · · · · ·of your time at Edgeworth has been spent on

17· · · · · ·either Lithium batteries, Packaged Seafood or

18· · · · · ·this case?

19· · · · · · · · · · · · ·MR. DALSANTO:· Object to form.

20· · · · · · · · · · · · ·THE WITNESS:· Over the last 12

21· · · · · ·months.· I'll take a second to try to give you

22· · · · · ·an estimate.

23· · · · · · · · · · · · ·BY MR. WILLIAMS:

24· · · · · · · · · Q.· · ·If you don't, that's too long to

25· · · · · ·remember something like that.· Tell me a major


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                      Dr. Laila     2896-1
                                Haider     Filed 12/10/21
                                        Attorneys    Eyes Page
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                                  May 09, 2019                            375

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·2· · · · · ·correct, not incorrect.· So my question,

·3· · · · · ·again, is:

·4· · · · · · · · · · · · ·Can you explain to us how it

·5· · · · · ·came to be that the only antitrust cases you

·6· · · · · ·have ever appeared as an expert in involved

·7· · · · · ·admitted felons?

·8· · · · · · · · · · · · ·MR. DALSANTO:· Object to form.

·9· · · · · · · · · · · · ·THE WITNESS:· I don't have an

10· · · · · ·answer in terms of how it came to be.· I was

11· · · · · ·contacted to -- to provide expert work and

12· · · · · ·expert testimony, and -- and that's why I'm

13· · · · · ·here today.

14· · · · · · · · · · · · ·BY MR. WILLIAMS:

15· · · · · · · · · Q.· · ·Do you have any sense of the

16· · · · · ·magnitude of exposure that the defendants in

17· · · · · ·this case face if they're found liable?

18· · · · · · · · · · · · ·MR. DALSANTO:· Object to form.

19· · · · · · · · · · · · ·THE WITNESS:· Obviously, I've

20· · · · · ·looked at the experts' reports and there are

21· · · · · ·damages figures included in them.· I would

22· · · · · ·need to look back at them to see what they

23· · · · · ·are.· They're the reports from the DAP expert

24· · · · · ·and the DPP expert.

25


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·2· · · · · ·and aluminum capacitor sales.· I don't have

·3· · · · · ·any place to point to to -- what certain

·4· · · · · ·capacitors means in the plea agreements.

·5· · · · · · · · · · · · ·BY MR. TURKEN:

·6· · · · · · · · · Q.· · ·Okay.· So nowhere in your report

·7· · · · · ·do you identify any capacitors that you

·8· · · · · ·believe were not part of the guilty plea,

·9· · · · · ·correct?

10· · · · · · · · · · · · ·MR. VAN DER WEELE:· Object to

11· · · · · ·form.

12· · · · · · · · · · · · ·THE WITNESS:· That was not my

13· · · · · ·role.· My role here is as explicitly stated in

14· · · · · ·paragraph 4.· So I do not identify based on

15· · · · · ·some affirmative analysis what those

16· · · · · ·capacitors are.

17· · · · · · · · · · · · ·BY MR. TURKEN:

18· · · · · · · · · Q.· · ·Now, you also said yesterday on

19· · · · · ·a number of occasions and again this morning

20· · · · · ·that you did not put forward your own model in

21· · · · · ·this case, right?

22· · · · · · · · · A.· · ·That's correct.· Again, it was

23· · · · · ·not my role to put forward my own model.          I

24· · · · · ·was asked to assess the methodologies that

25· · · · · ·were put forward.


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·2· · · · · · · · · Q.· · ·And, in fact, you were not asked

·3· · · · · ·to perform your own overcharge analysis in

·4· · · · · ·this case, right?

·5· · · · · · · · · A.· · ·An independent analysis of my

·6· · · · · ·own, no, I was not asked to perform that.

·7· · · · · · · · · Q.· · ·So you are not in a position to

·8· · · · · ·give an opinion as to what you believe were

·9· · · · · ·the overcharges caused by the capacitors

10· · · · · ·cartel?

11· · · · · · · · · · · · ·MR. VAN DER WEELE:· Object to

12· · · · · ·form.

13· · · · · · · · · · · · ·THE WITNESS:· I -- that is not

14· · · · · ·my role here.· It's explicitly described in

15· · · · · ·paragraph 4.· I'm assessing the methodologies

16· · · · · ·that are put forward and whether they're

17· · · · · ·capable of establishing economic injury and

18· · · · · ·damages.

19· · · · · · · · · · · · ·BY MR. TURKEN:

20· · · · · · · · · Q.· · ·And in the same vein, nowhere in

21· · · · · ·your report do you say that the capacitors'

22· · · · · ·cartel, as a matter of fact or in your

23· · · · · ·professional opinion, did not cause an

24· · · · · ·overcharge; isn't that right?

25· · · · · · · · · · · · ·MR. VAN DER WEELE:· Object to


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·2· · · · · · · · · ·CERTIFICATE OF DEPONENT

·3· · · · · · · · ·I, Laila Haider, do hereby certify that I

·4· · · · have read the foregoing pages, 10 through 594,

·5· · · · Volumes I and II inclusive, which contain a correct

·6· · · · transcript of the answers given by me to the

·7· · · · questions propounded to me herein, except for

·8· · · · changes, if any, duly noted on the enclosed errata

·9· · · · sheet.

10

11

12· · · · · · · · ·__________________________
· · · · · · · · · · · · · · ·WITNESS
13

14

15· · · · · · · · ·Sworn and subscribed to before me this ___

16· · · · day of ______________, 2019.

17

18· · My commission expires:· · · ·Notary Public:

19· · _____________________· · · · ________________________

20

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· · · DEPOSITION OF:· Laila Haider, Volumes I and II
·3· · TAKEN:· May 8, 2019 and May 9, 2019

·4· · PAGE· LINE· ERROR· · · · · ·CORRECTION· · · · ·REASON

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·2· · · · · · · · · · CERTIFICATE OF NOTARY

·3· · · · · · · · · · · · ·I, MISTY KLAPPER, the officer

·4· · · · · ·before whom the foregoing deposition was

·5· · · · · ·taken, do hereby certify that the witness

·6· · · · · ·whose testimony appears in the foregoing

·7· · · · · ·deposition was duly sworn by me; that the

·8· · · · · ·testimony of said witness was taken by me in

·9· · · · · ·shorthand and thereafter reduced to

10· · · · · ·typewriting by me; that said deposition is a

11· · · · · ·true record of the testimony given by said

12· · · · · ·witness; that I am neither counsel for,

13· · · · · ·related to, nor employed by any of the parties

14· · · · · ·to the action in which this deposition was

15· · · · · ·taken; and, further, that I am not a relative

16· · · · · ·or employee of any attorney or counsel

17· · · · · ·employed by the parties hereto, nor

18· · · · · ·financially or otherwise interested in the

19· · · · · ·outcome of this action.

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22·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   _________________________
· ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   Misty Klapper
23·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   Notary Public in and for
· ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   the District of Columbia
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